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            EXHIBIT 2
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Anticipated Class Member Damages:

1 Year = 250 Shifts (.00003699 of NDA) = $698.94
2 Years = 500 Shifts (.00007398 of NDA) = $1,397.88
3 Years = 750 Shifts (.00011097 of NDA) = $2,096.82
4 Years = 1000 Shifts (.00014796 of NDA) = $2,795.76
5 Years = 1250 Shifts (.00018496 of NDA) = $3,494.70
6 Years = 1500 Shifts (.00022195 of NDA) = $4,193.64
~6.5 Years = 1682 Shifts [the maximum amount for an individual class member] (.00024888 of NDA) = $4,702.67




Average Number of Shifts Per Class Member:

460.284 (.00006811 of NDA) = $1,286.96




Assumptions:
14,683 Class Members
6,758,356 Shifts (analysis is based on shifts, not workweeks for PAGA)
Time frame for analysis = ~6.5 years
1 year is calculated by assuming 50 weeks worked @ 5 days per week = 250 shifts per year
Net Distribution Amount (“NDA”) of $18,895,333.33
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           Analysis for Average Number of Shifts at Average Hourly Rate of $20.89 (460.284 shifts assuming 1 check per shift)
                                                                                                                                          Maximum
                                                                                                                                        Hypothetical
                                                                                                                                            Damages
                                                                                                                                             Without
                                        Total Unpaid                                                     Total Unpaid       Maximum       Liquidated
            Unpaid                        Straight                                                         Liquidated    Hypothetica        Damages     Anticipated
            Straight                     Wages and      Liquidated       § 203           § 226(e)        Damages and      l Monetary             and    Settlement
            Wages         Interest        Interest       Damages        Penalties        Penalties           Penalties       Recovery       Penalties     Damages
1 Minute     $160.22        $124.17          $284.39        $63.65         $626.70            $4,000        $4,690.35       $4,974.39        $284.30     $1,286.96
5
minutes      $801.13        $620.88        $1,422.01      $316.77          $626.70             $4,000       $4,943.47      $6,365.01      $1,422.01      $1,286.96
10
Minutes    $1,602.26       $1,241.75       $2,844.01      $633.54          $626.70             $4,000       $5,260.24      $8,104.01      $2,844.01      $1,286.96



           Analysis for Average Number of Shifts at Average Minimum Wage Rate of $8.26 (460.284 shifts assuming 1 check per shift)
                                                                                                                                          Maximum
                                        Total Unpaid                                                     Total Unpaid       Maximum     Hypothetical
            Unpaid                        Straight                                                         Liquidated    Hypothetica       Damages      Anticipated
            Straight                     Wages and      Liquidated       § 203           § 226(e)        Damages and      l Monetary        Without     Settlement
            Wages         Interest        Interest       Damages        Penalties        Penalties           Penalties       Recovery      Penalties      Damages
1 Minute       $63.35         $49.10         $112.45        $63.65         $626.70            $4,000        $4,690.35       $4,802.45       $176.10      $1,286.96
5
minutes      $316.77        $245.50          $562.27      $316.77          $626.70             $4,000       $4,943.47      $5,505.27        $879.04      $1,286.96
10
Minutes      $633.54        $490.99        $1,124.53      $633.54          $626.70             $4,000       $5,260.24      $6,384.77      $1,287.92      $1,286.96



Key:
           10% simple interest calculated from 2/1/14 through 11/1/21 (starting 92 weeks prior to the discontinuance of the security
           chack policy in December 2015 for a total of 93 months)
           Anticipated Net Distribution Amount of $18,895,333.33
           14,683 Class Members
           All unpaid base wages are for straight time hours worked
           Employees worked 5 days per week, so 460.284 shifts/5 days = 92.05 weeks
